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Case 3:16-cv-02898-MMA-AGS Document 3. Filed 12/07/16. PagelD.25 Page 1 of 2
Attorney or Party without Attorney: For Court Use Only
Law Offices Of; MATTHEW H. CAPRON
2220 OTAY LAKES RD., SUITE 502-92
CHULA VISTA, CA 91915
Telephone No: 619-847-3100

 

 

Ref. No. or File No.:

 

Attorney for: Plaintiff
Insert name of Court, and Judicial District and Branch Court:
United States District Court, Southern District Of California
Plaintiff, LUMINENCE, LLC
Defendant: AZIATEC, INC
PROOF OF SERVICE Hearing Date: Time: Dept/Div: Case Number:
16CV2898-MMA-AGS

 

 

 

 

 

 

 

 

 

 

1. At the time of service I was at least 18 years of age and not a party to this action.

2. Iserved copies of the Summons And Complaint; Civil Cover Sheet

3. a. Party served: AZIATEC, INC
b. Person served: STELLA CHANG
4. Address where the party was served: 744 ASHCOMB DR.

La Puente, CA 91744
5. I served the party:
b. by substituted service. On: Tue., Dec. 06, 2016 at: 7:25AM by leaving the copies with or in the presence of:
STELLA CHANG-ACCEPTED SERVICE ON BEHALF OF DEFENDANT
(2) (Home)Member Household over 18. I informed him or her of the general nature of the papers.
(4) I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place where the
copies were left (Code Civ. Proc., 415.20). I mailed the document on: Tue., Dec. 06, 2016 from: San Pedro, CA

(5) I attach a declaration of diligence stating actions taken first to attempt-personal service.

6. The "Notice to the Person Served” (on the Summons) was completed as follows:
a. as an individual defendant

7, Person Who Served Papers: Recoverable Cost Per CCP 1033.5(a)(4\(B)
a. CHRIS DEMIRDJIAN d. - The Fee for Service was: $430.00
b. SKIP-N-SERVE e. Iam: (3) registered California process server
P.O. BOX 6848 (i) Owner
San Pedro, CA 90734 (ii) Registration No.: 4159
c. (310) 831-1160, FAX (310) 833-7240 (iii) County: Los Angeles

(iv) Expiration Date: Fri, Jul. 07, 2017

8. I declare under penalty of perjury under the laws of the State of California that the foregoinghsfrue and correct.

Date: Tue, Dec. 06, 2016

 

udicial Council Form POS-010 PROOF OF SERVICE (COBRE-DEMIRD ILA)

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Rule 2.150.(a)&(b) Rev January 1, 2007 .caprmatt. 12740
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Attorney or Party without Attorney: For Court Use Only
Law Offices Of MATTHEW H. CAPRON

2220 OTAY LAKES RD., SUITE 502-92
CHULA VISTA, CA 91915

 

Telephone No: 619-847-3100

 

Ref. No or File No.:
Attorney for: Plaintiff
Insert name of Court, and Judicial District and Branch Court:

United States District Court, Southern District Of California
Plaintiff LUMINENCE, LLC
Defendant: AZIATEC, INC
DECLARATION OF DUE Hearing Date: Time: Dept/Div: Case Number:

DILIGENCE 16CV2898-MMA-AGS

 

 

 

 

 

 

 

 

 

 

 

1. I, CHRIS DEMIRDJIAN, and any employee or independent contractors retained by SKIP-N-SERVE are and were on the dates
mentioned herein over the age of eighteen years and not a party to this action. Personal service was attempted on Defendant
AZIATEC, INC as follows:

2. Documents; |. SUMMONS AND COMPLAINT; CIVIL COVER SHEET.

a

 

 

| Day Date Time | Location | Results
Wed = 11/30/16 8:35pm Home NO ANSWER; Attempt made by: CHRIS DEMIRDJIAN. Attempt at: 744

ASHCOMB DR. La Puente, CA 91744.

Thu 12/01/16 8:20pm Home NO ANSWER; Attempt made by: CHRIS DEMIRDJIAN. Attempt at: 744
ASHCOMB DR. La Puente, CA 91744.

Fri = 12/02/16 3:50pm Home NO ANSWER; Attempt made by: CHRIS DEMIRDJIAN. Attempt at: 744
ASHCOMB DR. La Puente, CA 91744.

Sat 12/03/16 10:10am Home NO ANSWER; Attempt made by: CHRIS DEMIRDJIAN. Attempt at: 744
ASHCOMB DR. La Puente, CA.91744.

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3. Person Executing Recoverable Costs Per CCP 1033.5¢a)(4)(B)
a. CHRIS DEMIRDJIAN d. The Fee for service was: $430.
b. SKIP-N-SERVE e.lam: (3) registered Califorgfa process server
P.O. BOX 6848 (i) Owner

San Pedro, CA 90734 (ii) Registration
c. (310) 831-1160, FAX (310) 833-7240 (iii) County:
(iv) Expiratio

A159
Los
ri, Jul. 07, 2017

   
 

ate:

4. I declare under penalty of perjury under the laws of the State of California that the foregoing § trite and corregt:

Date: Tue, Dec. 06, 2016

 

DECLARATION OF DUE DILIGENCE (Curis SeaffRpJ1An)
12871 .caprmatt. 12740
